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                       EXHIBIT 9
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                     UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA
                           SAN JOSE DIVISION


    LINCOLN JONES, JR. and        ) Case No.
    MUYESSER NILE JONES,          ) 5:13-cv-02390-LHK
    individually and as trustees  )
    of the Lincoln and M. Nile    )
    Jones Revocable Trust; and    )
    PROJECT SENTINEL, INC.,       )
                                  )
                   Plaintiffs,    )
                                  )
            vs.                   )
                                  )
    TRAVELERS CASUALTY INSURANCE )
    COMPANY OF AMERICA,           )
                                  )
                   Defendant.     )
    ______________________________)


      DEPOSITION OF NATIONAL INSURANCE SOLUTIONS THROUGH ITS
              CORPORATE DESIGNEE, CHRISTOPHER BENNETT
                       Los Angeles, California
                       Thursday, July 10, 2014




    Reported By:
    Damon M. LeBlanc,
    CSR No. 11958




                                                                    1
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 1                   UNITED STATES DISTRICT COURT
 2                 NORTHERN DISTRICT OF CALIFORNIA
 3                         SAN JOSE DIVISION
 4
 5   LINCOLN JONES, JR. and        ) Case No.
     MUYESSER NILE JONES,          ) 5:13-cv-02390-LHK
 6   individually and as trustees  )
     of the Lincoln and M. Nile    )
 7   Jones Revocable Trust; and    )
     PROJECT SENTINEL, INC.,       )
 8                                 )
                    Plaintiffs,    )
 9                                 )
             vs.                   )
10                                 )
     TRAVELERS CASUALTY INSURANCE )
11   COMPANY OF AMERICA,           )
                                   )
12                  Defendant.     )
     ______________________________)
13
14            Deposition of NATIONAL INSURANCE SOLUTIONS
15   through its corporate designee, CHRISTOPHER BENNETT,
16   taken on behalf of the Plaintiff, at 333 South Grand
17   Avenue, 47th Floor, Los Angeles, California, beginning
18   at 10:06 a.m. and ending at 5:42 p.m., on Thursday,
19   July 10, 2014, before Damon M. LeBlanc, Certified
20   Shorthand Reporter, Number 11958.
21
22
23
24
25



                                                                    2
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 1   and I represent National Insurance Solutions.

 2            MR. PETERSON:     Rob Peterson with

 3   Carlson, Calladine & Peterson for Travelers Casualty.

 4

 5                        CHRISTOPHER BENNETT,

 6   having been first duly sworn by the Certified Shorthand

 7   Reporter, was examined and testified as follows:

 8

 9                            EXAMINATION

10   BY MR. BRANCART:

11            Q       Good morning.     Would you please state

12   your full name and spell it.

13            A       Chris Bennett, C-h-r-i-s, B-e-n-n-e-t-t.

14            Q       Mr. Bennett, have you ever gone by the

15   first name of Christopher?

16            A       On legal documents.

17            Q       In the course of your work at NIS,

18   though, you typically use the first name of Chris; is

19   that correct?

20            A       Yes.

21            Q       Would you please state your current

22   business address?

23            A       9400 Topanga Canyon Boulevard,

24   Suite Number 201, Chatsworth, California 91311.

25            Q       How long has that been your business



                                                                    9
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 1   sitting in a room training on a system, we would say

 2   push this button and you have to answer these

 3   questions.       So it would have just been in the course of

 4   helping them understand how to navigate through a

 5   system.

 6              Q        Okay.   All right.    Do you recall any

 7   conversations with anyone at Travelers regarding

 8   Mr. and Mrs. Jones prior to NIS's receipt of my letter

 9   which is Document Number 3 in Exhibit 131; and my

10   letter is dated December 28, 2012?

11              A        No.

12              Q        Sir, since the date of January 7, 2013

13   to present, have you had any conversation with any

14   employees at Travelers regarding its ineligible

15   operation criteria subsidized complexes?

16              A        Yes.

17              Q        And with whom have you spoken?

18              A        It would have been their

19   underwriting -- I don't know his exact title, but he

20   runs underwriting from my perspective.          His first name

21   is Brad.       I don't recall his last name.     I apologize.

22              Q        Wood?

23              A        That sounds like the right name.     That's

24   correct.

25              Q        Diamond Bar office?



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 1            A       I believe so, yes.

 2            Q       And on how many occasions have you

 3   communicated with Mr. Wood about this topic?

 4            A       I believe it was just one time.

 5            Q       Okay.     Was that a face-to-face meeting

 6   or telephonic?

 7            A       I believe it was over the phone.

 8            Q       Did he call you or you call him, sir?

 9            A       I called him.

10            Q       What prompted you to call Mr. Wood at

11   that time or Brad?

12            A       I don't recall specifically.       It would

13   have been likely that it would have been the receipt of

14   the documents and this issue surfacing.

15            Q       Do you recall what the date of that call

16   was?

17            A       No.

18            Q       Did you make any notes?

19            A       No.

20            Q       Did anyone participate in the call?           Was

21   it a conference call in your office?

22            A       I don't think so.     I think it was -- I

23   think it was just Brad.       That's the way I recall it.

24            Q       But from your side --

25            A       No.     I think it was just me.



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 1            Q       Okay.   Would you please state for me

 2   what you recall being discussed in this call with

 3   Mr. Brad Wood?

 4            A       I felt that it would be prudent for

 5   National Insurance Solutions to stop asking this

 6   question as it pertained to Section 8.

 7            Q       And what is it that Mr. Wood said in

 8   response?

 9            A       Ultimately I don't recall if it was that

10   phone call or not, but ultimately we were advised that

11   we didn't have to address the issue.

12            Q       Okay.   Sir, you indicated that you

13   thought it may not be prudent for the question to be

14   asked.   What specific question were you referring to?

15            A       Well, I meant -- when I said question,

16   maybe you took me too literally or I spoke too

17   literally.    I just mean that issue of Section 8.        There

18   is a -- it's supposed to be addressed in the

19   underwriting of apartment insurance with Travelers.

20            And I felt given the fact we were receiving

21   these documents and the issue was surfacing, it would

22   be a bad idea for us to be continue to ask that

23   question.    By "us," I mean National Insurance Solutions

24   because we're a small company and can't bear exposure

25   of what I was perceiving to be some kind of threat.



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 1            Q       Right.    And do you recall in that

 2   conversation what Mr. Brad Wood said in response?

 3            A       If I remember correctly, I think he said

 4   that he needed to discuss it internally and that he

 5   would get back to me.      That's the way I recall it.         I

 6   don't remember when it was communicated, but it was

 7   some short time after that.

 8            Q       Okay.    Prior to this call with

 9   Mr. Brad Wood, did you speak with anyone in your

10   office -- let's go off the record for a second.

11                    (Discussion held off the record.)

12            MR. BRANCART:     I'll withdraw the last question.

13   BY MR. BRANCART:

14            Q       Sir, prior to this call with

15   Mr. Brad Wood, did you speak with anyone in your office

16   about why you were going to call Mr. Brad Wood and the

17   concern that you had that you expressed to him?

18            A       You know, I don't recall speaking to

19   anyone in the office.      It would have -- it's possible.

20   But certainly if I would have it would have been John

21   or Lisa, but I don't recall that conversation taking

22   place.

23            Q       All right.    Did you ultimately receive a

24   response back from Travelers to your expressed concern

25   about asking about Section 8?



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 1            A       I ultimately received a phone call from

 2   Brad.

 3            Q       Okay.   And do you recall how long after

 4   your call that you received this response from

 5   Mr. Wood?

 6            A       I don't, but it wasn't long because we

 7   actively call business every day.        And we needed to

 8   find out quickly what we were going to do.

 9            Q       All right.    And what is it that

10   Mr. Wood said in that call?

11            A       I don't remember the conversation.         He

12   gave us permission not to address that issue from an

13   underwriting standpoint.      That was the gist of the

14   conversation.

15            Q       Did he give you any direction as to how

16   you were to implement this decision not to inquire

17   about the existence of Section 8?

18            A       The only way to do it would be in their

19   system, when a pop-up comes up and says:         Are any of

20   these ineligible operations present?        We would check

21   no, they are not present even though we had not asked

22   the customer.    In other words, we discontinued asking

23   the question or addressing that issue as a whole.           But

24   when we entered it in the system, we implied that we

25   had addressed it simply to get through the system.



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 1            Q        Because it's not disputed -- because

 2   we've spoken to people with Travelers.         Because if you

 3   click yes through the underwriting portal, you're

 4   automatically kicked out or denied --

 5            A        Right.

 6            Q        -- through that?

 7            A        We can't retrieve a quote.

 8            Q        Okay.     Did you communicate this

 9   instruction to your staff?

10            A        Yes.

11            Q        And how did you communicate it to them

12   verbally?

13            A        I believe it was verbally in a meeting.

14            Q        All right.     And is there any writing

15   that was produced by you or anyone in the organization

16   indicating we're not going to be asking the question

17   regarding Section 8?

18            A        I don't believe so.     I think it was

19   clearly communicated verbally with the staff face to

20   face one on one, and it was handled in that matter.

21            Q        Second question:     Was there any

22   communication in writing as to what individuals were to

23   do and using the automatic underwriting portal when it

24   came to this question yes-no?

25            A        No.     It would have been part of that



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 1                                   **

 2

 3

 4

 5

 6                     I DO SOLEMNLY DECLARE UNDER PENALTY OF

 7   PERJURY THAT THE FOLLOWING IS MY DEPOSITION UNDER OATH;

 8   THAT THESE ARE THE QUESTIONS ASKED OF ME AND MY ANSWERS

 9   THERETO; THAT I HAVE READ SAME AND HAVE MADE THE

10   NECESSARY CORRECTIONS, ADDITIONS, OR CHANGES TO MY

11   ANSWERS THAT I DEEM NECESSARY.

12                     IN WITNESS WHEREOF, I HEREBY SUBSCRIBE

13   MY NAME THIS____________DAY OF________________,20____.

14

15                                        _______________________

16                                            WITNESS SIGNATURE

17

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                              CERTIFICATION

                                     OF

                     CERTIFIED SHORTHAND REPORTER



                       I, the undersigned, a Certified

     Shorthand Reporter of the State of California do hereby

     certify:

                       That the foregoing proceedings were

     taken before me at the time and place herein set forth;

     that any witnesses in the foregoing proceedings, prior

     to testifying, were placed under oath; that a verbatim

     record of the proceedings was made by me using machine

     shorthand which was thereafter transcribed under my

     direction; further, that the foregoing is an accurate

     transcription thereof.

                       I further certify that I am neither

     financially interested in the action nor a relative or

     employee of any attorney of any of the parties.

                       IN WITNESS WHEREOF, I have this date

     subscribed my name__________________________________.

                       Date_________________________________

                       Certificate Number 11958




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